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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


PAISLEY PARK ENTERPRISES, INC. AND
COMERICA BANK & TRUST, N.A. AS                                Case No.: 2:18-cv-12044-JMV-JBC
PERSONAL REPRESENTATIVE OF THE
ESTATE OF PRINCE ROGERS NELSON,                            STIPULATION    AND    ORDER
                                                           EXTENDING TIME OF DEFENDANT
                    Plaintiffs,                            TO ANSWER OR OTHERWISE
       v.                                                  RESPOND TO COMPLAINT

DOMAIN CAPITAL, LLC,

                    Defendant.

       IT IS HEREBY STIPULATED and agreed by the attorneys for the parties indicated
below that the time of Defendant, DOMAIN CAPITAL, LLC to answer or otherwise respond to
the Complaint filed by the Plaintiffs herein is extended from August 16, 2018, to and including
September 28, 2018.
                                                         Dated: August 16, 2018
WALSH PIZZI O’REILLY                                       ESQwire.com, P.C
FALANGA LLP

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SO ORDERED this                   day of August, 2018.



Honorable James B. Clark, III
